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1    JOSEPH W. COTCHETT, SBN 36324              THEODORE J. BOUTROUS, JR., SBN 132099
       jcotchett@cpmlegal.com                     tboutrous@gibsondunn.com
2    MARK C. MOLUMPHY, SBN 168009               CHRISTOPHER CHORBA, SBN 216692
       mmolumphy@cpmlegal.com                      cchorba@gibsondunn.com
3    ELLE D. LEWIS, SBN 238329                  GIBSON, DUNN & CRUTCHER LLP
       elewis@cpmlegal.com                      333 South Grand Avenue
4    COTCHETT, PITRE & McCARTHY LLP             Los Angeles, CA 90071
     840 Malcolm Road, Suite 200                Telephone: 213.229.7000
5    Burlingame, CA 94010
     Telephone:    650.697.6000                 WESLEY SZE, SBN 306715
6                                                 wsze@gibsondunn.com
     LAURENCE D. KING, SBN 206243               GIBSON, DUNN & CRUTCHER LLP
7      lking@kaplanfox.com                      1881 Page Mill Road
     FREDERIC FOX, SBN (pro hac vice)           Palo Alto, CA 94304
8      ffox@kaplanfox.com                       Telephone: 650.849.5300
     DONALD R. HALL (pro hac vice)
9      dhall@kaplanfox.com                      Attorneys for Defendant Apple Inc.
     KAPLAN FOX & KILSHEIMER LLP
10   1999 Harrison Street, Suite 1560
     Oakland, CA 94612
11   Telephone:    415.772.4700
12   Co-Lead Counsel for Plaintiffs
13

14                                UNITED STATES DISTRICT COURT

15                               NORTHERN DISTRICT OF CALIFORNIA

16                                      SAN JOSE DIVISION

17   IN RE: APPLE INC. DEVICE                    Case No. 5:18-md-2827-EJD
     PERFORMANCE LITIGATION
18                                               PLAINTIFFS’ AND DEFENDANT’S
     This Document Relates to:                   NOTICE OF JOINT RENEWED MOTION
19                                               AND JOINT RENEWED MOTION FOR
         ALL ACTIONS                             FINAL APPROVAL OF CLASS ACTION
20                                               SETTLEMENT; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES IN SUPPORT
21
                                                 Judge:         Hon. Edward J. Davila
22                                               Courtroom:     4, Fifth Floor
                                                 Date:          April 20, 2023
23                                               Time:          9:00 a.m.
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               JOINT RENEWED MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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1    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
2           PLEASE TAKE NOTICE THAT on April 20, 2023 at 9:00 a.m., or as soon thereafter as the
3    matter may be heard before the Honorable Edward J. Davila, in Courtroom 4, Fifth Floor, of the United
4    States District Court for the Northern District of California in the San Jose Courthouse, 280 South First
5    Street, San Jose, California 95113, the parties will, and hereby do, move this Court for an order again
6    granting final approval of the parties’ settlement.
7           The Ninth Circuit Court of Appeals vacated this Court’s final approval order with instruction
8    to evaluate the settlement agreement under “heightened scrutiny.” While this Court did not explicitly
9    state it was applying heightened scrutiny in its prior order, this Court’s prior approval order itself made
10   clear that the correct legal standard was applied and under that standard, the settlement is fair,
11   reasonable, and adequate. The Ninth Circuit did not identify any other error in this Court’s decision.
12   Accordingly, this Court should re-grant final approval of the settlement agreement.
13          The parties’ joint motion is based on this notice of joint renewed motion and joint renewed
14   motion, the accompanying memorandum of points and authorities, other documents on file in this
15   action, and any oral argument of counsel.
16   Dated: November 11, 2022                       COTCHETT, PITRE & MCCARTHY LLP
17                                                  By:              /s/ Joseph W. Cotchett
                                                                        Joseph W. Cotchett
18

19   Dated: November 11, 2022                       KAPLAN FOX & KILSHEIMER LLP

20                                                  By:               /s/ Laurence D. King
                                                                         Laurence D. King
21
                                                    Co-Lead Counsel for Plaintiffs
22
     Dated: November 11, 2022                       GIBSON, DUNN & CRUTCHER LLP
23
                                                    By:             /s/ Christopher Chorba
24                                                                      Christopher Chorba
25                                                  Attorneys for Defendant Apple Inc.

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1                            MEMORANDUM OF POINTS AND AUTHORITIES
2                                           I.      INTRODUCTION
3              The parties respectfully renew their prior motion for an order approving the parties’ proposed
4    class settlement as fair, reasonable, and adequate under Federal Rule of Civil Procedure 23(e). After
5    an extensive notice campaign and careful consideration of the submissions and arguments of the parties
6    and objectors, this Court approved the class settlement and entered judgment in March 2021.
7    (Dkts. 608, 612.) Although several objectors appealed, the Ninth Circuit’s opinion disposed of most
8    of their arguments, finding that this Court “properly resolved most of the objections at issue on appeal,”
9    and even “commend[ing] the district court’s thoughtful and thorough analysis,” which “suggest[ed]
10   that the court took great care in considering the terms of the settlement.” In re Apple Inc. Device
11   Performance Litig., 50 F.4th 769, 776 (9th Cir. 2022).
12             However, in addressing an issue that was raised for the first time in the Feldman objectors’
13   appellate reply brief, the Ninth Circuit panel ultimately vacated and remanded the case “to reconsider
14   settlement approval under the correct standard.” Id. Specifically, although the Ninth Circuit found
15   that this Court’s “probing analysis suggests that [this Court] may have applied heightened scrutiny,”
16   one paragraph in the legal standards section of the final approval order cited an outdated “presumption”
17   of fairness that does not apply to pre-certification settlements. Id. at 783 (citing Saucillo v. Peck, 25
18   F.4th 1118, 1132 (9th Cir. 2022), and Roes, 1–2 v. SFBSC Mgmt., LLC, 944 F.3d 1035, 1049 (9th Cir.
19   2019)).     Accordingly, even though the balance of this Court’s approval order gave “careful
20   consideration of the settlement’s fairness” under Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th
21   Cir. 1998), the panel concluded that remand was required because the “written order relied on a flawed
22   legal standard” that was not “subject to review for harmlessness.” 50 F.4th at 783.
23             This Court can and should issue an order approving the settlement without any presumption of
24   fairness. All of the Hanlon factors weigh very strongly in favor of settlement approval, and the Ninth
25   Circuit disposed of the principal objections on appeal. All that stands between the settlement class and
26   the material benefits under this deal is another order approving the fairness, reasonableness, and
27   adequacy of the settlement under Rule 23(e). There is no procedural basis to consider any further
28   objections to the underlying settlement, and the parties respectfully submit that the Court should

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1    approve the settlement again under the correct standard. 1
2                                           II.     BACKGROUND
3    A.      The Proposed Settlement and Approval Orders
4            As the Court is well aware, this case was hard-fought and heavily litigated.            Between
5    December 2017 and June 2018, Plaintiffs filed 66 class action complaints, which were consolidated in
6    this Court by the U.S. Judicial Panel on Multidistrict Litigation beginning on April 5, 2018. (See
7    Dkt. 1.) After filing a consolidated complaint and litigating two motions to dismiss, the parties engaged
8    in intensive, detailed, and complex discovery. Plaintiffs served more than 170 document requests, in
9    response to which Apple produced more than seven million pages of documents. (See Dkt. 470 at 3.)
10   Apple also served discovery, and Plaintiffs produced documents and written responses. Overall, the
11   parties conducted 19 depositions and litigated many discovery disputes before a special discovery
12   master and this Court. (See id.)
13           At the time of the settlement, the parties were well represented and informed about the risks of
14   continued litigation. The settlement itself was the product of extensive, arm’s-length negotiations over
15   many months, including several all-day, in-person mediation sessions and many additional discussions
16   with a respected mediator. (Dkt. 470-1.) The parties accepted a mediator’s proposal for the settlement
17   and negotiated a term sheet and long-form settlement agreement.
18           After executing a comprehensive notice campaign (involving two rounds of direct notice via
19   email or postcard to 99% of the putative settlement class members) and ample opportunity for putative
20   settlement class members to raise concerns about the proposed settlement, this Court held lengthy
21   fairness hearings on December 4, 2020 and February 17, 2021. (See Dkts. 585, 600.) During those
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          Plaintiffs submit a separate brief to address the Ninth Circuit’s rulings regarding the award of
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          attorneys’ fees. 50 F.4th at 785 (concluding that “the district court’s failure to consider whether
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          the JCCP fees should be included in the lodestar was an abuse of discretion”); id. at 784 n.11 (“If,
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          on remand, the district court again awards attorney’s fees and uses the percentage-of-recovery
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          method, it should more clearly explain why a deviation from the benchmark is or isn’t appropriate
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          before proceeding to a lodestar cross-check.”).
                                                         2
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1    hearings—which lasted more than seven hours on the record—the Court heard detailed argument from
2    the parties, objectors, and even putative class members.
3           On March 17, 2021, the Court granted final approval of the settlement and certified a
4    nationwide settlement class of “[a]ll former or current U.S. owners of iPhone 6, 6 Plus, 6s, 6s Plus, 7,
5    7 Plus, and SE devices running iOS 10.2.1 or later (for iPhone 6, 6 Plus, 6s, 6s Plus, and SE devices)
6    or iOS 11.2 or later (for iPhone 7 and 7 Plus devices), and who ran these iOS versions before
7    December 21, 2017.” (Dkt. 608 at 7.) In its detailed approval order, the Court concluded that the
8    settlement was fair, reasonable, and adequate, determining that each Hanlon factor weighed in favor of
9    approving the settlement under Rule 23(e). (Id. at 11–17.) The Court also considered, and rejected,
10   each argument raised by the objectors, determining that none of them met the “heavy burden of
11   demonstrating that the [settlement] is unreasonable.” (Id. at 19; see id. at 17–36.) The Court issued a
12   separate order on Plaintiffs’ counsel’s motion for attorneys’ fees, costs, and service awards, awarding
13   $80.6 million in attorneys’ fees—about 26% of the $310 million settlement amount, and a 2.232
14   multiplier over their lodestar—and costs and service awards as requested. (Dkt. 609 at 21.)
15   B.     The Ninth Circuit Appeal
16          Five objectors (Sarah Feldman, Hondo Jan, and Deborah Pantoni; Anna St. John; and Best
17   Companies, Inc.) appealed the Court’s settlement approval and award of attorneys’ fees on various
18   grounds. (Dkts. 614–18.) The Feldman objectors’ challenge focused on the settlement’s attestation
19   requirement, the amount of attorneys’ fees, and the service awards. 50 F.4th at 778. St. John
20   challenged only the amount of attorneys’ fees and not the underlying settlement. Id. Best Companies
21   argued that the settlement should not have included non-natural persons and, in the alternative, that the
22   notice provided to non-natural persons was insufficient. Id. After hearing oral argument, the Ninth
23   Circuit issued its opinion on September 28, 2022 (with an amended opinion on October 11, 2022,
24   correcting only the spelling of the name of counsel for an objector).
25          In its opinion, the Ninth Circuit rejected all but two of the objectors’ claims, “commend[ing]
26   the district court’s thoughtful and thorough analysis, which suggests that the court took great care in
27   considering the terms of the settlement,” and recognizing that this Court gave “careful consideration
28   of the settlement’s fairness.” Id. at 776, 782. In rejecting Best Companies’ appeal, the panel concluded

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1    that non-natural persons received sufficient notice of the settlement, and it “easily reject[ed]” any
2    argument that they were not included in the settlement class. Id. at 780 & n.6. The Ninth Circuit also
3    rejected the Feldman objectors’ argument that the attestation requirement rendered the settlement
4    unfair, holding that the requirement constituted a “reasonable . . . compromise” that did not create a
5    conflict between class members. Id. at 781. Further endorsing this Court’s reasoning, the panel ruled
6    that simply because “not every class member had an actionable claim is not tantamount to two adverse
7    groups requiring separate representation, . . . [n]or does the possibility that some class members
8    suffered no damages mean that they lack standing and must be dismissed.” Id. at 781. Accordingly,
9    the Ninth Circuit rejected all of Best Companies’ arguments on appeal, 2 and it also rejected the Feldman
10   objectors’ principal arguments.
11           Nevertheless, the Ninth Circuit vacated and remanded because one paragraph in the
12   “Standards” section of this Court’s final approval order erred by suggesting that a “presumption of
13   reasonableness” applied to the settlement. Id. at 782–83. Specifically, in reciting the legal standard,
14   the Court had problematically stated that it should give “proper deference to the private consensual
15   decision of the parties” and that “[t]he recommendations of plaintiffs’ counsel should be given a
16   presumption of reasonableness.” (Dkt. 608 at 10–11 (citing cases).) It also cited two district court
17   decisions regarding the “presumption that the agreement is fair” and that scrutiny was limited to
18   “obvious deficiencies.” Id. (citing In re Zynga Inc. Sec. Litig., No. 12-4007-JSC, 2015 WL 6471171,
19   at *8 (N.D. Cal. Oct. 27, 2015), and Linney v. Cellular Alaska P’ship, No. 96-3008-DLJ, 1997 WL
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          Because Best Companies and other non-natural persons are bound by the settlement, following the
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          entry of a new approval order and final judgment, Apple will seek dismissal of the separate lawsuit
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          that Best Companies filed concurrently with its objection in this Court. See Best Cos., Inc. v. Apple
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          Inc., No. 20-6971-EJD (N.D. Cal. June 16, 2021), Dkt. 21 (staying and administratively closing
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          Best Companies’ separate case pending the outcome of the appeal in the instant case). Given the
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          Ninth Circuit ruling, Best Companies’ claims will be extinguished by the settlement. See Campbell
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          v. City of L.A., 903 F.3d 1090, 1107 (9th Cir. 2018) (“[C]lass members who do not opt out are
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          parties to the settlement and bound by it.”).
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1    450064, at *5 (N.D. Cal. July 18, 1997)). However, the Ninth Circuit held that the Court was required
2    to apply “heightened scrutiny” because the settlement was reached prior to class certification. 50 F.4th
3    at 782. And even though this Court’s “probing analysis suggests that it may have applied heightened
4    scrutiny, its written order relied on a flawed legal standard.” Id. at 783. Thus, citing a decision that
5    postdated the Court’s prior approval order (and excusing the Feldman objectors’ waiver of this issue
6    on appeal by not raising it in their opening brief), the Ninth Circuit “vacate[d] the order granting final
7    settlement approval so that on remand the district court can evaluate the settlement under the correct
8    standard.” Id. (citing Saucillo, 25 F.4th at 1131 n.9).
9           Additionally, “[i]n light of [the] vacatur of the settlement approval,” the Ninth Circuit also
10   “vacate[d] the . . . order awarding attorney’s fees, expenses, and incentive payments,” but provided
11   additional “guidance in the event the district court again approves the settlement.” Id. On the issue of
12   attorneys’ fees, the Ninth Circuit held that the Court’s “explanation for considering JCCP-related work
13   conflicted with the court’s overall rationale for its fee award” because it both held that “an award
14   exceeding a 2.232 multiplier” was unwarranted and that inclusion of the JCCP counsel’s fees had “an
15   insignificant impact on the multiplier.” Id. at 783–84.
16                                            III.    ARGUMENT
17   A.     The Ninth Circuit’s Remand Is Limited to the Issue of Whether This Court Applied the
            Correct Legal Standard
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            The Ninth Circuit reversed the Court’s approval order on very limited grounds, finding fault
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     not with the Court’s analysis but only with its statement of the legal standard. Id. at 787. While it
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     “remand[ed] for application of the correct standard,” the panel did not hold that the Court’s statement
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     of the legal standard compromised its analysis of the fairness, reasonableness, and adequacy of the
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     settlement. In fact, just the opposite: The Ninth Circuit noted that this Court’s “probing analysis”
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     suggested that it may very well have “applied heightened scrutiny,” and the error was merely that “its
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     written order relied on a flawed legal standard.” Id. at 783.
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            Moreover, the Ninth Circuit expressly rejected the Feldman objectors’ attempt to compare the
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     issue here with the error made by the district court in Roes, 1-2 v. SFBSC Management, LLC, No. 14-
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     3616-LB, 2017 WL 4073809 (N.D. Cal. Sept. 14, 2017), rev’d, 944 F.3d 1035 (9th Cir. 2019). As the
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1    panel explained, in Roes “the problems ran deeper than an incorrect statement of the law; the district
2    court did not ‘investigate or adequately address’ the ‘numerous problematic aspects of the settlement
3    and subtle signs of implicit collusion.’” 50 F.4th at 783 (quoting Roes, 944 F.3d at 1049). By contrast,
4    here, the panel “commend[ed]” this Court’s “thoughtful and thorough analysis,” and further observed
5    that this Court had already “acknowledged that deference to the parties’ consensual decision ‘must be
6    limited’ to ensure ‘that the agreement is not the product of fraud or overreaching by, or collusion
7    between, the negotiating parties.’” Id. at 776, 782 n.10.
8           The Ninth Circuit otherwise rejected all of the substantive challenges to the settlement that it
9    addressed in its decision. Accordingly, aside from the award of attorneys’ fees, the sole issue for the
10   Court to reconsider on remand is whether its analysis of the settlement’s fairness, reasonableness, and
11   adequacy complied with the Ninth Circuit’s heightened scrutiny standard for pre-certification
12   settlements.
13   B.     The Settlement Is Fair, Reasonable, and Adequate Under Heightened Scrutiny
14          Reexamining the analysis in the Court’s final approval order in full, it is clear that, while the
15   Court may have erred in its statement of the legal standard, the underlying analysis did in fact comport
16   with the Ninth Circuit’s “heightened scrutiny” standard for pre-certification settlements. The Ninth
17   Circuit has issued a number of decisions that identify several factors a district court must consider in
18   approving these settlements.
19          The first of these key cases is Hanlon, which adopted “a more probing inquiry than may
20   normally be required under Rule 23(e).” 150 F.3d at 1026. Hanlon did not explain what “a more
21   probing inquiry” entails, but the Ninth Circuit later expanded upon this standard in In re Bluetooth
22   Headset Products Liability Litigation, 654 F.3d 935 (9th Cir. 2011). In that case, the court explained
23   that pre-certification settlements “must withstand an even higher level of scrutiny for evidence of
24   collusion or other conflicts of interest than is ordinarily required under Rule 23(e) before securing the
25   court’s approval as fair.” Id. at 946. Under this standard, the “district court’s approval order must
26   show not only that ‘it has explored [the Hanlon] factors comprehensively,’ but also that the settlement
27   is ‘not[] the product of collusion among the negotiating parties.’” Id. at 947 (citing In re Mego Fin.
28   Corp. Sec. Litig., 213 F.3d 454, 458 (9th Cir. 2000)). Specifically, Bluetooth instructed district courts

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1    to “be particularly vigilant not only for explicit collusion, but also for more subtle signs” as well, and
2    outlined three “warning signs” that may indicate collusion or other conflicts of interest: (1) when class
3    counsel “receive a disproportionate distribution of the settlement”; (2) when the parties negotiate a
4    “clear sailing” arrangement for payment of attorneys’ fees; and (3) when the parties negotiate reversion
5    of unawarded fees to the defendant, instead of to the class. Id. at 947 (quotation marks and citations
6    omitted).
7           The Ninth Circuit has since drawn from Hanlon and Bluetooth as setting forth the relevant
8    standards to apply “heightened scrutiny” for pre-certification settlements. For example, in Roes, the
9    Ninth Circuit held that to satisfy this “higher standard of fairness,” a district court must “explore[]
10   comprehensively all factors, give[] a reasoned response to all non-frivolous objections, . . . adequately
11   develop[] the record to support its final approval decision,” and “look[] for and scrutinize[] any subtle
12   signs that class counsel have allowed pursuit of their own self-interests to infect the negotiations.” 944
13   F.3d at 1048, 1043 (citing Hanlon, 150 F.3d at 1026, and Bluetooth, 654 F.3d at 946). In the years
14   since Roes, the Ninth Circuit has repeated this standard on several occasions. See, e.g., McKinney-
15   Drobnis v. Oreshack, 16 F.4th 594, 607 (9th Cir. 2021) (reciting this same standard); Briseno v.
16   Henderson, 998 F.3d 1014, 1022 (9th Cir. 2021) (reciting a substantively similar standard); Saucillo,
17   25 F.4th at 1131 (citing Roes).
18          As explained below, the Court’s approval of the settlement comports with heightened scrutiny,
19   and therefore the Court should again grant final approval to the settlement.
20          1. The Court Conducted a “Probing Analysis” in Evaluating the Settlement. As the Ninth
21   Circuit recognized, this Court has already conducted a “probing analysis” before concluding that the
22   settlement agreement was fair, reasonable, and adequate. 50 F.4th at 783.
23          Before settling, the parties engaged in nearly three years of extensive litigation. That litigation
24   included two rounds of motions to dismiss (including a motion for reconsideration) (Dkts. 176, 194,
25   197, 271, 282, 286, 298), extensive discovery—including 19 depositions, the forensic inspection of
26   several named Plaintiffs’ devices, and the exchange of millions of pages of document productions.
27   (See Dkt. 471 ¶¶ 25–36.) Discovery was hard-fought. This Court appointed a special discovery master
28   who presided over more than 20 telephonic conferences and in-person hearings (e.g., Dkts. 229–32,

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1    235, 245, 389), and she resolved several discovery disputes (e.g., Dkts. 116, 122, 125, 206, 217, 220,
2    319). By the time the settlement was reached, the Court was intimately familiar with the parties’
3    positions—including the relative strengths and weaknesses of their claims and defenses raised—and
4    the evidence in this case.
5           But the Court did not rest on its familiarity with the case when analyzing the settlement. Instead,
6    it conducted a lengthy and extensive settlement approval process, which included two rounds of direct
7    notice to 99% of the settlement class. Through this process, the Court received detailed briefing from
8    the parties, objectors, and amicus curiae (Dkts. 415, 417, 421, 423, 432–514, 517–19, 521–24, 528–
9    37, 539–42, 544–46, 549–55, 560–61, 564, 568–70, 575, 575, 579, 590–92, 595–96, 607) and
10   considered many status reports from the parties and the settlement administrator (see, e.g., Dkts. 470-
11   2, 551, 592, 596). Additionally, in analyzing the adequacy of the settlement, the Court even requested
12   a detailed expert analysis prepared by Plaintiffs’ economist to assess the potential per-unit damages
13   experienced by the settlement class members. (See Dkt. 591). After reviewing all of this evidence, the
14   Court conducted over seven hours of fairness hearings and gave ample opportunities for the parties,
15   objectors, and amicus curiae to address the Court. (Dkts. 585, 600.)
16          The Court’s efforts—based not only on its deep familiarity presiding over this case, but also
17   through a rigorous approval process—fully satisfies the requirement to review the settlement with
18   heightened scrutiny. See 50 F.4th at 783 (noting that this Court’s “probing analysis suggests that [it]
19   may have applied heightened scrutiny”).          The Court just needs to refrain from stating any
20   “presumption” of fairness in reapproving the settlement.
21          2. The Court Carefully Analyzed All of the Ninth Circuit’s Settlement Approval Factors.
22   The Court’s inquiry culminated in a 36-page order that explicitly addressed each relevant settlement
23   approval factor. (See Dkt. 608 at 11–19 (citing Churchill Vill. L.L.C. v. Gen. Elec., 361 F.3d 566, 575–
24   76 (9th Cir. 2004), Hanlon, 150 F.3d at 1026, and Officers for Justice v. Civil Serv. Comm’n, 688 F.2d
25   615, 625 (9th Cir. 1982)).) It concluded that despite Plaintiffs’ continued belief in the strength of their
26   case, the risk of not obtaining recovery was “real and substantial.” (Id. at 11–13.) It recognized that
27   significant discovery—including millions of pages of productions and over ten depositions—had been
28   completed (id. at 1), and that the remaining discovery and subsequent trial would be risky, complex,

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1    and time consuming (id. at 13–14). The Court further noted that class certification had not yet been
2    granted, and that if “the litigation proceeded . . . there was a risk that a class would not be certified.”
3    (Id.) It also found that the amount offered in settlement was “within the range of reasonableness” after
4    considering the parties’ and objectors’ competing calculations. (Id. at 14 (citing Dkt. 591).) The Court
5    also held that the broad experience of class counsel weighed in favor of a finding of fairness (id. at 17),
6    as did the fact that only 0.01% of class members who responded to the settlement notice sought to be
7    excluded or objected (id. at 17–18). Based on all these considerations—none of which relied on any
8    presumption of fairness—the Court ultimately concluded that all relevant factors weighed in favor of
9    the settlement. (Id. at 11–19.) See Fleming v. Impax Labs. Inc., No. 16-6557-HSG, 2022 WL 2789496,
10   at *4–7 (N.D. Cal. July 15, 2022) (comprehensively analyzing each Hanlon factor under heightened
11   scrutiny per Roes).
12          3. The Court Provided Reasoned Responses to Each Objection. The Court’s approval order
13   also spent 16 pages carefully considering the arguments raised by the objectors. (See Dkt. 608 at 20–
14   36.) These objections varied dramatically. Beyond those raised by Feldman and Best Companies Inc.,
15   other objections included objections to the lawsuit entirely (see, e.g., Dkt. 441), objections to the serial
16   number requirement (see, e.g., Dkt. 438), and objections relating to privacy concerns (see, e.g.,
17   Dkt. 542). The Court addressed, considered, and reasonably overruled each of these objections (see
18   Dkt. 608 at 20–36)—a far cry from Roes, which “did not substantively investigate or address” some of
19   the objectors’ concerns. 944 F.3d at 1052. Agreeing with this Court’s analysis, the Ninth Circuit
20   disposed of the principal substantive objections on appeal. 50 F.4th at 779–82. 3
21
            3
22              There is no basis for this Court to revisit its prior rulings that the Ninth Circuit has now

23   affirmed. For example, the Ninth Circuit expressly affirmed this Court’s overruling of the Feldman

24   objectors’ arguments about standing. See 50 F.4th at 781–82 (rejecting the Feldman objectors’

25   argument that “the possibility that some class members suffered no damages mean that they lack

26   standing and must be dismissed,” and holding that Plaintiffs’ allegations had “sufficed to establish

27   standing” for class settlement purposes). Although the Feldman objectors recently filed a “Statement

28   of Recent Decision” on this issue of standing (Dkt. 630), they had submitted a Rule 28(j) letter to the

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1           4. The Court Probed for Subtle Signs of Collusion and Found None. In its approval order,
2    the Court also recognized its obligation to “reach a reasoned judgment that the agreement is not the
3    product of fraud or overreaching by, or collusion between, the negotiating parties, and that the
4    settlement, taken as a whole, is fair, reasonable and adequate to all concerned.” (Dkt. 608 at 10; see
5    also 50 F.4th at 782 n.10.) This Court’s finding about the total “absence of collusion” in the settlement
6    was grounded on detailed facts, including that the settlement was reached after several in-person
7    mediation sessions and that it was based upon a proposal written by an experienced mediator. (Dkt.
8    608 at 10.) In fact, this is a rare settlement in which not a single one of the Bluetooth factors indicating
9    “subtle signs of collusion” or conflicts of interest is present (no “clear sailing arrangement”; no
10   “reverter that returns unclaimed [funds]”; and no “disposition distribution” to class counsel). Allen v.
11   Bedolla, 787 F.3d 1218, 1224 (9th Cir. 2015) (quoting Bluetooth, 654 F.3d at 947). This Court’s
12   “detailed approval order” and “specific factual finding” about arm’s-length negotiations confirms that
13   the analysis fully comports with heightened review. See Lane v. Facebook, Inc., 696 F.3d 811, 825
14   (9th Cir. 2012) (district court’s “detailed approval order” and “specific factual finding” about arm’s-
15   length negotiations demonstrated that the “review was . . . compliant with this circuit’s requirement
16   [to] apply heightened review to a class action settlement reached before formal certification”).
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     Ninth Circuit regarding these same decisions, and the Ninth Circuit—with the benefit of these
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     decisions—nonetheless rejected their standing arguments. There is no basis for these objectors to ask
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     this Court to reexamine issues that the Ninth Circuit has conclusively resolved. See Hall v. City of Los
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     Angeles, 697 F.3d 1059, 1067 (9th Cir. 2012) (“The law of the case doctrine . . . precludes a court from
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     reconsidering an issue decided previously . . . by a higher court in the identical case,” and “[a] district
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     court that has received the mandate of an appellate court cannot vary or examine that mandate for any
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     purpose other than executing it.”). Were the law otherwise, there would be an endless series of
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     judgments, appeals, and relitigation of the same issues over and over again. Additionally, the Ninth
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     Circuit decision the Feldman objectors cite, Olean Wholesale Grocery Cooperative, Inc. v. Bumble Bee
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     Foods LLC, 31 F.4th 651 (9th Cir. 2022), did not involve a settlement class and is therefore irrelevant
28
     to the Ninth Circuit’s standing analysis in this case.
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1                                           IV.        CONCLUSION
2           The parties respectfully request that the Court again grant final approval to the settlement and
3    enter judgment. This Court’s detailed and well-reasoned approval order satisfies the heightened
4    scrutiny required for pre-certification settlements, and the only matter requiring attention is the
5    statement of the correct legal standard without any presumption of fairness or deference to counsel.
6    Accordingly, to comply with the Ninth Circuit’s direction to “evaluate the settlement under the correct
7    standard,” 50 F.4th at 783, the Court need only apply the heightened scrutiny required for pre-
8    certification settlements and again approve the settlement as fair, reasonable, and adequate.
9

10   Dated: November 11, 2022                         COTCHETT, PITRE & MCCARTHY LLP
11                                                    By:             /s/ Joseph W. Cotchett
                                                                         Joseph W. Cotchett
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13   Dated: November 11, 2022                         KAPLAN FOX & KILSHEIMER LLP

14                                                    By:              /s/ Laurence D. King
                                                                          Laurence D. King
15
                                                      Co-Lead Counsel for Plaintiffs
16
     Dated: November 11, 2022                         GIBSON, DUNN & CRUTCHER LLP
17
                                                      By:             /s/ Christopher Chorba
18                                                                        Christopher Chorba
19                                                    Attorneys for Defendant Apple Inc.

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21                                                *         *     *

22
                                             ECF ATTESTATION
23
            I, Joseph W. Cotchett, hereby attest that the concurrence in the filing of this document has been
24
     obtained from the above signatories.
25
     Dated: November 11, 2022                                         /s/ Joseph W. Cotchett
26                                                                       Joseph W. Cotchett

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